                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-355

                                        No. COA20-688

                                      Filed 20 July 2021

     Wake County, No. 16CRS215238

     STATE OF NORTH CAROLINA

                  v.

     LAWRENCE SCOTT, Defendant.


           Appeal by Defendant from judgments entered on 25 October 2019 by Judge

     Rebecca W. Holt in Wake County Superior Court. Heard in the Court of Appeals 25

     May 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Ellen Newby,
           for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender James R.
           Grant, for the Defendant.

           JACKSON, Judge.


¶1         Lawrence Scott (“Defendant”) appeals from judgments entered upon jury

     verdicts finding him guilty of two counts of sexual activity by a substitute parent, a

     violation of N.C. Gen. Stat. § 14-27.7(a). On appeal, Defendant argues that the trial

     court erred in allowing amendment of the indictment charging him with these

     offenses. Defendant also argues that the trial court erred by sentencing him to

     consecutive sentences for his convictions. We hold that Defendant has failed to

     demonstrate any error.
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                                        I.      Background

¶2          On Tuesday, 31 May 2016, Katherine1 stayed home from school after returning

     from an out-of-town trip over the Memorial Day weekend.                The holiday fell on

     Monday, 30 May 2016 that year, and Katherine had returned home late at night. She

     was 16 years old at the time. There was an exam period at her school that week and

     she did not need to be at school on Tuesday because she had no exam that day.

¶3          That morning, Katherine’s mother had a job interview. Before leaving for the

     interview, Katherine’s mother woke her and invited her to come with her, but

     Katherine declined. After Katherine’s mother left for the interview, Katherine went

     back to sleep.

¶4          Defendant is the father of Katherine’s younger sister and had been living with

     Katherine’s family since losing his job in 2015. After Katherine’s mother left for the

     interview, Defendant entered the room where Katherine had been sleeping.

     Katherine was still in bed, but she was awake. Defendant began flashing money at

     Katherine, whereupon she asked if she could have a dollar. Defendant replied that

     she would have to work for it, and repeated this several times.

¶5          Defendant then performed cunnilingus on Katherine and then stood up and

     had her perform fellatio on him. He also attempted to penetrate her vaginally.



            1 A pseudonym is used for ease of reading and to protect the privacy of the victim, who

     was a juvenile at the time of the commission of the offenses. See N.C. R. App. P. 42(b).
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¶6           Katherine’s mother then returned home. She had gone grocery shopping after

       her job interview. Defendant brought some of the grocery bags inside and then left

       the home. After he left, Katherine told her mother what had happened.

¶7           On 29 July 2016, a warrant was issued for Defendant’s arrest. He was taken

       into custody the same day. A Wake County grand jury indicted him with three counts

       of sexual activity by a substitute parent on 22 August 2016.

¶8           The matter came on for trial before the Honorable A. Graham Shirley in Wake

       County Superior Court on 17 July 2018. At the conclusion of a three-day trial, the

       jury acquitted Defendant of one of the counts. It was hopelessly deadlocked on the

       remaining two. Judge Shirley accepted the jury’s not guilty verdict on the first count

       and declared a mistrial as to the remaining counts.

¶9           Defendant was re-tried in October 2019 before the Honorable Rebecca W. Holt.

       Judge Holt presided over a four-day trial. At the conclusion of the trial, the jury

       returned verdicts of guilty on the remaining counts. The court entered two judgments

       on the jury’s verdicts, sentencing Defendant to 20 to 84 months in prison in each

       judgment, and ordering that the sentences run consecutively. The court also ordered

       that Defendant register as a sex offender and entered a permanent no contact order

       with Katherine.

¶ 10         Defendant entered timely written notice of appeal on 1 November 2019.

                                        II.    Analysis
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¶ 11           Defendant makes essentially two arguments on appeal, which we address in

       turn.

       A. Amendment of the Indictment

¶ 12           Defendant first argues that the trial court erred by granting the State’s motion

       to amend the indictment. Specifically, Defendant contends that allowing the State to

       amend the indictment by adding the words “[a]t the time of the offense, the defendant

       was residing in the home with [Katherine]” substantially altered the charges in the

       indictment, adding an essential element to the offense charged—an element the

       unamended version of the indictment did not include. We disagree.

¶ 13           “A valid bill of indictment is essential to the jurisdiction of the trial court to try

       an accused for a felony.” State v. White, 372 N.C. 248, 250, 827 S.E.2d 80, 82 (2019)

       (internal marks and citation omitted). It “serves to identify the offense being charged

       with certainty, to enable the accused to prepare for trial, and to enable the court,

       upon conviction, to pronounce the sentence.” State v. Rankin, 371 N.C. 885, 886, 821

       S.E.2d 787, 790 (2018) (internal marks and citation omitted). An indictment must

       therefore contain

                      [a] plain and concise factual statement in each count
                      which, without allegations of an evidentiary nature, asserts
                      facts supporting every element of a criminal offense and the
                      defendant’s commission thereof with sufficient precision
                      clearly to apprise the defendant . . . of the conduct which is
                      the subject of the accusation.
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       N.C. Gen. Stat. § 15A-924(a)(5) (2019) (emphasis added).

¶ 14         “[A]n indictment is fatally defective if it fails to state some essential and

       necessary element of the offense of which the defendant is found guilty.” White, 372

       N.C. at 250, 827 S.E.2d at 82 (internal marks and citation omitted). An invalid

       indictment “fails to confer subject-matter jurisdiction on the trial court.” State v.

       Lyons, 268 N.C. App. 603, 607, 836 S.E.2d 917, 921 (2019) (citation omitted).

       Accordingly, the validity of an indictment may be raised for the first time on appeal

       “even though no corresponding objection, exception or motion was made in the trial

       division.” State v. Sturdivant, 304 N.C. 293, 308, 283 S.E.2d 719, 729 (1981).

¶ 15         “Although G.S. 15A-923(e) prohibits the amendment of a bill of indictment, the

       term ‘amendment’ has been restrictively defined as ‘any change in the indictment

       which would substantially alter the charge set forth in the indictment.’” State v.

       Cameron, 83 N.C. App. 69, 72, 349 S.E.2d 327, 329 (1986) (quoting State v. Price, 310

       N.C. 596, 598, 313 S.E.2d 556, 558 (1984)). Thus, “while amending an indictment to

       add an essential element to the allegations contained therein constitutes a

       substantial alteration, an amendment that simply corrects an error unconnected and

       extraneous to the allegations of the essential elements [does] not.” State v. Stith, 246

       N.C. App. 714, 716, 787 S.E.2d 40, 43 (2016) (internal marks and citation omitted),

       aff’d, 369 N.C. 516, 796 S.E.2d 784 (2017).

¶ 16         Both the facial validity of indictments and trial rulings allowing amendment
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       of indictments are reviewed de novo by our Court. See, e.g., State v. Edgerton, 266

       N.C. App. 521, 525, 832 S.E.2d 249, 253 (2019) (standard of review for facial validity

       challenges is de novo); State v. Frazier, 251 N.C. App. 840, 795 S.E.2d 654, 655 (2017)

       (standard of review for rulings on amendments to indictments is de novo). “Under a

       de novo review, the court considers the matter anew and freely substitutes its own

       judgment for that of the lower tribunal.” State v. Williams, 362 N.C. 628, 632-33, 669

       S.E.2d 290, 294 (2008) (internal marks and citation omitted).

¶ 17          The crime of sexual activity by a substitute parent is defined by N.C. Gen. Stat.

       § 14-27.31, which provides:

                      If a defendant who has assumed the position of a parent in
                      the home of a minor victim engages in vaginal intercourse
                      or a sexual act with a victim who is a minor residing in the
                      home, the defendant is guilty of a Class E felony.

       N.C. Gen. Stat. § 14-27.31(a) (2019). “[T]he elements of sexual activity by a substitute

       parent are (1) vaginal intercourse or a sexual act, (2) with a minor victim residing in

       a home, (3) by a person who has assumed the position of a parent in the minor victim’s

       home.” State v. Johnson, 253 N.C. App. 337, 346, 801 S.E.2d 123, 128 (2017). “Proof

       of a ‘sexual act’ under [the statute] does not require . . . penetration.” State v. Hoover,

       89 N.C. App. 199, 208, 365 S.E.2d 920, 926 (1988).

¶ 18          The indictment charging Defendant with sexual activity by a substitute parent

       charged that
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                    on or about May 31, 2016, in Wake County, the defendant
                    . . . unlawfully, willfully, and feloniously did, having
                    assumed the position of a parent in the home of [Katherine]
                    . . . , a person less than eighteen years old, and engaged in
                    a sexual act with that person. This act was done in
                    violation of NCGS § 14-27.7(a).

       As noted previously, the indictment charged Defendant with three counts of the

       offense.

¶ 19         The unamended version of the indictment thus charged that Defendant, (1)

       “having assumed the position of a parent in the home of [Katherine]”; (2) “a person

       less than eighteen years old”; (3) “engaged in a sexual act with that person.” These

       allegations allege the essential elements of sexual activity by a substitute parent. See

       Johnson, 253 N.C. App. at 346, 801 S.E.2d at 128. We therefore hold that the

       unamended version of the indictment was facially valid.         Accordingly, even this

       unamended version of the indictment served the dual purposes of a valid

       indictment—providing Defendant with notice and preventing double jeopardy. See

       Rankin, 371 N.C. at 886, 821 S.E.2d at 790.

¶ 20         The State’s motion to amend the indictment was heard on 12 July 2018 before

       the Honorable R. Allen Baddour, Jr., in Wake County Superior Court. Defendant

       argued at the hearing that the State’s proposed amendment was impermissible

       because liability for the offense required proof both (1) that the defendant resided in

       the home and (2) that he had acted in a parental role, and that these two facts were
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       separate essential elements of the crime. The State disputed this argument and

       explained that it was “asking to amend out of an abundance of caution, to – just to be

       clear[.]” Judge Baddour consulted the pattern jury instructions and noted that the

       third element of the offense in the pattern instruction was that “that the defendant

       had assumed the position of a parent in the home where the alleged victim resided[,]”

       and ruled as follows:

                     THE COURT: . . . I think that the existing language is
                     sufficient to indict and provide jurisdiction to the court for
                     a trial on sexual activity by a substitute parent, but I do
                     also think that the amendment provides more clear
                     language without adding an element, so to speak.

                     So I will allow the motion.

                     I also, on the Court’s own motion, will amend the statute
                     in each count of the indictment from 14-27.7(a) to 14-
                     27.31(a).2

       Judge Baddour memorialized these rulings in a written order dated 13 July 2018.

¶ 21          Defendant’s argument on appeal is somewhat different than the one made by

       his trial counsel at the 12 July 2018 hearing before Judge Baddour. Whereas there,

       Defendant argued that the State was required to prove both that he resided in the

       home where the offense occurred and had acted in a parental role in the home, here,

       he argues that the unamended version of the indictment did not adequately allege



              2 N.C. Gen. Stat. § 14-27.7(a) was recodified at N.C. Gen. Stat. § 14-27.31 in 2015.

       2015 S.L. 181 § 13(a).
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       that the minor victim resided in the home at the time of the offense. Defendant’s

       appellate counsel thus appears to recognize that trial counsel’s argument was

       unsuccessful because it is the victim, not the defendant, that the State must prove

       lived in the home at the time of the offense in order to convict. See N.C. Gen. Stat.

       § 14-27.31(a) (2019) (defining offense as where “a defendant who has assumed the

       position of a parent in the home of a minor victim engages in . . . a sexual act with a

       victim who is a minor residing in the home”) (emphasis added); N.C.P.I.—Crim

       207.70A (requiring proof that offense occurred “in the home where the alleged victim

       resided”). Yet, appellate counsel’s argument is just as unavailing. The allegations in

       the unamended indictment allege that the minor victim was Katherine, “a person less

       than eighteen years old,” and that Defendant “ha[d] assumed the position of a parent

       in the home of [Katherine.]” These allegations make plain that Katherine, the minor

       victim, was alleged to reside in the home where Defendant stood accused of engaging

       in various sexual acts with her after assuming the position of a parent. Accordingly,

       we hold that the unamended version of the indictment adequately alleged that the

       minor victim resided in the home where the offenses occurred.

¶ 22         Adding the words “[a]t the time of the offense, the defendant was residing in

       the home with [Katherine]” to what otherwise was a facially valid indictment did not

       constitute a substantial alteration of the offenses charged in the indictment because

       these additional words did not add any previously omitted essential element of the
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       crime of sexual activity by a substitute parent. As noted above, it is not an essential

       element of sexual activity by a substitute parent that the person who has assumed

       the position of a parent reside in the home where the minor victim resides, although

       this will no doubt often be the case when a person assumes the position of a parent

       with respect to a minor child. Instead, it is the minor victim who must reside in the

       home at the time of the commission of the offense. See N.C. Gen. Stat. § 14-27.31(a)

       (2019) (requiring that the victim “is a minor residing in the home”); N.C.P.I.—Crim

       207.70A (defining the third element of the offense as “the defendant had assumed the

       position of a parent in the home where the alleged victim resided”). Accordingly, the

       words, “[a]t the time of the offense, the defendant was residing in the home with

       [Katherine,]” were “extraneous to the allegations of the essential elements” in the

       indictment. Stith, 246 N.C. App. at 716, 787 S.E.2d at 43. Adding them thus did not

       qualify as an amendment prohibited by N.C. Gen. Stat. § 15A-923(e).

       B. Consecutive Sentences

¶ 23         Defendant also argues that the trial court erred by sentencing him to two

       consecutive sentences.    Specifically, Defendant contends that sentencing him to

       consecutive sentences was improper where the predicate sexual acts for each

       conviction were perpetrated during the same incident, recasting a double jeopardy

       argument that has not been preserved for appellate review as a hybrid challenge to

       the unanimity of the verdict and sufficiency of the indictment. We hold that (1) the
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       jury instructions and verdict sheets demonstrate that the jury’s verdicts were

       unanimous; (2) indicting Defendant with multiple counts of the same crime based on

       distinct sexual acts was proper; and (3) the trial court did not abuse its discretion by

       sentencing Defendant to consecutive sentences.

¶ 24         In general, constitutional issues not raised in the trial court will not be

       considered for the first time on appeal. State v. Lloyd, 354 N.C. 76, 86-87, 552 S.E.2d

       596, 607 (2001). However, alleged “[v]iolations of . . . the right to a unanimous verdict

       . . . are not waived by the failure to object at trial and may be raised for the first time

       on appeal.” State v. Wiggins, 161 N.C. App. 583, 592, 589 S.E.2d 402, 409 (2003)

       (citation omitted). Similarly, challenges to “the sufficiency of an indictment . . . may

       be made for the first time in the appellate division.” Sturdivant, 304 N.C. at 308, 283

       S.E.2d at 729.

¶ 25         Article I, § 24 of the North Carolina Constitution and the Sixth Amendment to

       the United States Constitution both guarantee the right to a unanimous verdict. See

       N.C. Const. art. I, § 24 (“No person shall be convicted of any crime but by the

       unanimous verdict of a jury in open court[.]”); Ramos v. Louisiana, 140 S. Ct. 1390,

       1397 (2020) (“[T]he Sixth Amendment’s unanimity requirement applies to state and

       federal criminal trials equally.”). So do our General Statutes. See N.C. Gen. Stat.

       § 15A-1237(b) (2019) (“The verdict must be unanimous, and must be returned by the

       jury in open court.”). Verdict unanimity issues can arise “[i]f the trial court instructs
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       a jury that it may find the defendant guilty of the crime charged on either of two

       alternative grounds, [and] some jurors [] find the defendant guilty of the crime

       charged on one ground, while other jurors [] find the defendant guilty on another

       ground.” State v. Petty, 132 N.C. App. 453, 460, 512 S.E.2d 428, 433 (1999). “Where

       each alternative ground constitutes a separate and distinct offense, the risk of a

       nonunanimous verdict arises.” Id. (citation omitted).

¶ 26         For example, if a jury is instructed to return a guilty verdict if it finds that the

       “defendant knowingly possessed or knowingly transported marijuana” and the

       verdict sheet states that the jury finds the defendant guilty of trafficking marijuana

       without specifying whether the conviction is for trafficking in marijuana by

       transportation or possession—two different modes of liability for the offense of

       trafficking in marijuana—it is impossible from the verdict and instructions “to

       determine whether all of the jurors found possession, all found transportation, or

       some found one and some the other.” State v. Hartness, 326 N.C. 561, 564, 391 S.E.2d

       177, 179 (1990). Critically, “a disjunctive instruction, which allows the jury to find a

       defendant guilty if he commits either of two underlying acts, either of which is in itself

       a separate offense, is fatally ambiguous because it is impossible to determine whether

       the jury unanimously found that the defendant committed one particular offense.”

       State v. Lyons, 330 N.C. 298, 302-03, 412 S.E.2d 308, 312 (1991) (emphasis in

       original). On the other hand, “if the trial court merely instructs the jury disjunctively
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       as to various alternative acts which will establish an element of the offense, the

       requirement of unanimity is satisfied.” Id. at 303, 412 S.E.2d at 312.

¶ 27         This case does not present a verdict unanimity issue. The jury instructions

       and the verdict sheets consistently distinguished between the sexual act upon which

       each of the counts of sexual activity by a substitute parent were predicated. The trial

       court instructed the jury on the count predicated on cunnilingus as follows:

                           The defendant has been charged with feloniously
                    engaging in a sexual act, cunnilingus, with a minor over
                    whom the defendant had assumed the position of a parent
                    residing in the home. For you to find the defendant guilty
                    of this offense, the State must prove three things beyond a
                    reasonable doubt:

                           First, that the defendant engaged in a sexual act
                    with the alleged victim. A sexual act means cunnilingus,
                    which is any touching, however slight, by the lips or tongue
                    of one person to any part of the female sex organ of another.

                           Second, that the alleged victim was a minor. A
                    minor is someone who has not attained the age of 18 years
                    or has not otherwise been emancipated.

                           And, third, that the defendant . . . had assumed the
                    position of a parent in the home where the alleged victim
                    resided.

                           Consent is no defense to this charge.

                          If you find from the evidence beyond a reasonable
                    doubt that on or about the alleged date the defendant
                    engaged in a sexual act, cunnilingus, with the alleged
                    victim and that at the time the alleged victim was less than
                    18 years of age and had not been emancipated and was
                    thereby a minor and that the defendant had assumed the
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             position of a parent in the home where the alleged victim
             resided, it would be your duty to return a verdict of guilty.
             If you do not so find or have a reasonable doubt as to one
             or more of these things, it would be your duty to return a
             verdict of not guilty.

¶ 28   Then the court instructed the jury on the count predicated on fellatio:

                    The defendant has been charged with feloniously
             engaging in a sexual act, fellatio, with a minor over whom
             the defendant had assumed the position of a parent
             residing in the home. For you to find the defendant guilty
             of this offense, the State must prove three things beyond a
             reasonable doubt:

                   First, that the defendant engaged in a sexual act
             with the alleged victim. A sexual act also means fellatio,
             which is any touching by the lips or tongue of one person
             and the male sex organ of another.

                    Second, that the alleged victim was a minor. A
             minor is someone who has not attained the age of 18 years
             or has not otherwise been emancipated.

                    And, third, that the defendant had assumed the
             position of a parent in the home where the alleged victim
             resided.

                    Consent is no defense to this charge.

                    If you find from the evidence beyond a reasonable
             doubt that on or about the alleged date the defendant
             engaged in a sexual act, fellatio, with the alleged victim
             and that at that time the alleged victim was less than 18
             years of age and had not been emancipated and was
             thereby a minor and that the defendant had assumed the
             position of a parent in the home where the alleged victim
             resided, it would be your duty to return a verdict of guilty.
             If you do not so find or have a reasonable doubt about one
             or more of these things, it would be your duty to return a
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                    verdict of not guilty.

¶ 29         Although not required, we note that the verdict sheet for the count predicated

       on cunnilingus stated as follows:

                    We the jury by unanimous verdict find the defendant,
                    Lawrence Scott, to be:
                    COUNT 2

                    ✓ Guilty of Sexual Activity by a Substitute Parent
                     (Cunnilingus)

       The verdict sheet for the count predicated on fellatio read in the same fashion:

                    We the jury by unanimous verdict find the defendant,
                    Lawrence Scott, to be:
                    COUNT 3

                    ✓ Guilty of Sexual Activity by a Substitute Parent
                     (Fellatio)

¶ 30         Accordingly, we hold that the consistent distinction between the sexual acts

       upon which the convictions were predicated demonstrates that the jury’s verdicts

       were unanimous.

¶ 31         Defendant argues that he is being punished twice for a single offense because

       the sexual acts upon which his convictions were based were perpetrated during the

       same incident and that the indictment was thus “multiplicious.” See Petty, 132 N.C.

       App. at 463 n. 2, 512 S.E.2d at 435 n. 2 (“An indictment is multiplicious if it charges

       a single offense in several counts.”). However, the indictment in this case is not

       “multiplicious”: it charges Defendant with multiple counts of the same crime. While
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the crime is the same in each count, each count represents a different charge—a

separate instance of commission of the crime based on a distinct predicate act. The

first count, which he was acquitted of, was based on vaginal intercourse. The two

counts of which he was found guilty were based on cunnilingus and fellatio,

respectively. “Even when multiple sex acts occur in a ‘single transaction’ or a short

span of time, each act is a distinct and separate offense.” State v. Gobal, 186 N.C.

App. 308, 322 n. 7, 651 S.E.2d 279, 288 n. 7 (2007), aff’d, 362 N.C. 342, 661 S.E.2d

732 (2008). Distinct sexual acts perpetrated during the same incident can thus

support multiple indictments and convictions for a sexual offense. See, e.g., State v.

Dudley, 319 N.C. 656, 659, 356 S.E.2d 361, 363 (1987) (upholding two rape convictions

where the instances of forcible intercourse occurred during the same incident but

were interrupted by an attempted rape of another victim); State v. Pierce, 238 N.C.

App. 537, 539, 767 S.E.2d 860, 862 (2014) (“[M]ultiple sexual acts during a single

encounter may form the basis for multiple counts of indecent liberties.”); State v.

Williams, 201 N.C. App. 161, 185, 689 S.E.2d 412, 426 (2009) (“[T]he occurrence of

the acts in a ‘single transaction’ is irrelevant.”); State v. Coleman, 200 N.C. App. 696,

706, 684 S.E.2d 513, 520 (2009) (upholding two convictions for indecent liberties for

distinct acts committed during the same evening); State v. James, 182 N.C. App. 698,

705, 643 S.E.2d 34, 38 (2007) (“The distinctive character of the acts is not altered

because all three occurred within a short time span.”). Accordingly, we hold that the
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       indictment charging Defendant with separate counts of sexual activity by a substitute

       parent based on distinct sexual acts did not suffer from any infirmity.

¶ 32         “It is well established that the decision to impose consecutive or concurrent

       sentences is within the discretion of the trial judge and will not be overturned absent

       a showing of abuse of discretion.” State v. Espinoza-Valenzuela, 203 N.C. App. 485,

       497, 692 S.E.2d 145, 154 (2010) (citation omitted). “Abuse of discretion results where

       the court’s ruling is manifestly unsupported by reason or is so arbitrary that it could

       not have been the result of a reasoned decision.” State v. Campbell, 359 N.C. 644,

       673, 617 S.E.2d 1, 19 (2005) (citation omitted).

¶ 33         It was well within the trial court’s discretion to impose the sentence Defendant

       received. Nothing in the record suggests that sentencing Defendant to consecutive

       sentences for his convictions was “manifestly unsupported by reason or . . .

       arbitrary[.]” Id. We therefore hold the decision to sentence Defendant to consecutive

       sentences was not an abuse of discretion.

                                       III.     Conclusion

¶ 34         For the reasons stated above, we hold that Defendant has failed to demonstrate

       any error in the proceedings in the trial court.

             NO ERROR.

             Judges TYSON and MURPHY concur.
